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                                   Mark J. Conway, Bankruptcy Judge
                                   Dated: January 9, 2023



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